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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

                                                   )
 IN RE: NATIONAL PRESCRIPTION                          MDL No. 2804
                                                   )
 OPIATE LITIGATION
                                                   )
                                                       Case No. 17-md-2804
                                                   )
 THIS DOCUMENT RELATES TO:
                                                   )
                                                       Judge Dan Aaron Polster
                                                   )
 State of Montana v. Purdue Pharma et al.,
                                                   )
 Case No. 1:18-OP-45604                                OPINION AND ORDER
                                                   )


       Before the Court is Plaintiff State of Montana’s Motion to Remand. (Doc #: 26) The Court

has reviewed the Motion, the Opposition Brief, and the Reply Brief and for the reasons to follow,

GRANTS Montana’s Motion to Remand.

                                                  I.

       In this Multidistrict Litigation (“MDL”), Plaintiffs are government entities, Indian tribes,

hospitals, third-party payors and individuals from across the nation that have sued the

manufacturers, distributors and retailers of prescription opiate drugs alleging they are liable for the

costs Plaintiffs have incurred, and will continue to incur, in addressing the opioid public health

crisis. There are now over 1100 cases in the MDL—over 1000 of which were filed by various

government entities.

       On November 30, 2017, the State of Montana (“Montana”), through its Attorney General,

filed this action against Defendants Purdue Pharma L.P., Purdue Pharma, Inc., The Purdue

Frederick Company, and Jane Does 1-10 (collectively “Purdue”) in the Montana First Judicial

District Court, Lewis and Clark County. (Doc #: 1-1 at 2-138) Montana alleged state law claims:

violations of the Unfair Trade Practices and Consumer Protection Act, Mont. Code Ann. § 30-14-
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103 (Count One), violations of the Montana False Claims Act, Mont. False Claims Act § 17-8-403

(Count Two), statutory public nuisance, Mont. Code Ann. § 27-30-102, and common law public

nuisance (Count Three), unjust enrichment (Count Four), and punitive damages (Count Five). Id.

       On January 30, 2018, Montana filed an Amended Complaint alleging the five original state

law claims and adding a claim for violations of the 2007 Consent Judgment. (Doc #: 1-1 at 139-

206; hereafter cited as “First Am. Compl.”)

       On February 20, 2018, Montana filed a Motion for Preliminary Injunction. (Doc #: 1-3;

hereafter cited as “Mot. Prelim. Inj.”) Montana asked the Court to order Purdue to:

       1) Immediately cease all sales representative promotions of opioid drugs to
          prescribers in Montana. . .

       2) In all other promotional or educational activity that could reach Montana
          prescribers or consumers:

               a. . . . cease promoting its opioid drugs . . . as a first-line or routine therapy
                  for chronic pain . . . and . . . disclose that opioids are to be tried only
                  after other treatments have failed.

               b. . . . disclose that there is no evidence that opioids improve pain, function,
                  or quality of life long-term.

               c. . . . disclose that there is no evidence that screening or risk-stratification
                  tools are effective in preventing addiction or limiting other risks of long-
                  term opioid use.

               d. . . . disclose that abuse-deterrent formulations do not deter oral abuse
                  and have not been shown to reduce overall abuse or addiction.

               e. . . . disclose that long-term opioid use for chronic pain is associated with
                  serious risks including increased risk for opioid use disorder, overdose,
                  myocardial infarction, and motor vehicle injury.

(Id. at 3-4) (emphasis added)

       On February 28, 2018, despite the fact that Montana alleges only state law claims, Purdue

removed this case to the United States District Court for the District of Montana based on federal

question jurisdiction. (Doc #: 1) Specifically, Purdue alleges:

                                                   2
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          Federal question jurisdiction exists in this case because the State’s recent Motion
          for a Preliminary Injunction revealed—for the first time—that the State’s Amended
          Complaint involves state law claims that are inextricably tied to substantial disputed
          federal questions. The State’s Preliminary Injunction Motion makes clear that in its
          Amended Complaint, the State attempts to supplant the U.S. Food & Drug
          Administration’s (“FDA”) complex regulatory determinations with the State’s
          contrary assessment regarding how Purdue’s opioids should be regulated, labeled,
          and marketed. In doing so, the State attempts to use Montana state law to require
          that Purdue convey different information about the safety and efficacy of its opioid
          medications in Montana than what the FDA has required that Purdue tell healthcare
          providers in Montana and every other state in the country. Such actions give rise to
          federal question jurisdiction pursuant to 28 U.S.C. § 1331.

(Id. at 2)

          Section 1331 provides the district courts with “original jurisdiction of all civil actions

arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. In certain

situations “where a claim finds its origins in state rather than federal law . . . [the Supreme Court

has] identified a ‘special and small category’ of cases in which arising under jurisdiction still lies.”

Gunn v. Minton, 568 U.S. 251, 258 (2013) (citing Empire Healthchoice Assurance, Inc. v.

McVeigh, 547 U.S. 677, 699 (2006)). In Gunn, the Supreme Court succinctly described the test it

previously set forth in Grable & Sons Metal Prods., Inc. v. Darue Eng’g and Mfg., 545 U.S. 308

(2005):

          [F]ederal jurisdiction over a state law claim will lie if a federal issue is: (1)
          necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of
          resolution in federal court without disrupting the federal-state balance approved by
          Congress. Where all four of these requirements are met, we held, jurisdiction is
          proper because there is a “serious federal interest in claiming the advantages
          thought to be inherent in a federal forum,” which can be vindicated without
          disrupting Congress's intended division of labor between state and federal courts.

Gunn, 568 U.S. at 258 (quoting Grable). However, the mere presence of a federal issue in a state

law claim does not automatically confer federal question jurisdiction. Merrell Dow Pharm. Inc. v.

Thompson, 478 U.S. 804, 813 (1986).




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        Moreover, the United States Supreme Court has consistently held that the federal courts

are “courts of limited jurisdiction. They possess only that power authorized by Constitution and

statute.” Exxon Mobil Corp. v. Allapattah Servs., 545 U.S. 546, 552 (2005) (quoting Kokkonen v.

Guardian Life Ins. Co. of America, 511 U. S. 375, 377 (1994)). Courts are obliged to strictly

construe removal jurisdiction against removal and all doubts should be resolved in favor of

remand.1 See Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 108-09 (1941); Coyne v. Am.

Tobacco Co., 183 F.3d 488, 493 (6th Cir. 1999). The party seeking removal bears the burden of

demonstrating that removal is proper. Coyne, 183 F.3d at 495.

                                                        II.

        Because all claims in Montana’s First Amended Complaint are state law claims, Purdue

seeks to invoke the Grable exception. Purdue contends that Montana’s Motion for Preliminary

Injunction necessarily raises a federal issue because “Congress has vested the FDA with . . . the

exclusive regulatory authority to determine the precise content of prescription drug labeling,”

(Doc #: 28 at 9) (emphasis added; internal citation omitted), and that Montana is attempting to

“usurp the FDA’s authority to regulate the information provided to physicians and patients about

the safety and efficacy of Purdue’s opioid medications.” (Id. at 14) The Court disagrees with

Purdue’s characterization of Montana’s requested relief.

        Montana asserts that its requested injunctive relief can coexist with Purdue’s FDA-

approved labeling. Montana has not asked the court to halt Purdue’s use, or change the content, of

the FDA-approved drug labels. Rather, Montana expressly seeks to enjoin “promotions” and “all




1
 The Court notes that while “arising under” jurisdiction pursuant to 28 U.S.C. § 1331 should be strictly construed
against removal, removal under the federal officer removal statute, 28 U.S.C. § 1442, is entitled to a liberal
construction in favor of removal. See Watson v. Philip Morris Companies, Inc., 551 U.S. 142, 147 (2007); see also
Arizona v. Manypenny, 451 U.S. 232, 242 (1981).

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other promotional or educational activity.” (Mot. Prelim. Inj. 3) Further, Paragraph 48 of

Montana’s First Amended Complaint specifically alleges:

       Neither these third-party, unbranded materials, nor the marketing messages or
       scripts relied on by Purdue's sales representatives, were reviewed or approved by
       the U.S. Food & Drug Administration (“FDA”). All of the messages described in
       this Complaint were disseminated to Montana prescribers and patients through
       sales representative visits, medical education programs, websites, and other
       sources.

(First Am. Compl. 156) Montana states, and the Court agrees, that “[n]one of the statements sought

to be enjoined are in the FDA-approved labels, and none of the requested disclosures are in

fundamental conflict with any of the language in those labels.” (Doc #: 29 at 7)

       Purdue analogizes its case with McKay v. City & Cty. of San Francisco, No. 16-CV-03561

NC, 2016 WL 7425927 (N.D. Cal. Dec. 23, 2016). In McKay, plaintiffs sought to enjoin the city

from using FAA-approved flight paths. 2016 WL 7425927, at *1. In that case, the court agreed

with defendants’ argument that the requested injunction “require[d] nothing short of a

reassessment, reevaluation and revamping of the [FAA’s] order.” Id. at *4.

       Montana’s case is distinguishable. Far from “asking the Court to second guess the validity

of the [FDA’s] decision,” id., if the court were to grant Montana’s Motion for Preliminary

Injunction, neither the FDA’s decision-making process nor its approved labeling would be

implicated. Therefore, no federal issue is necessarily raised.

       Nor is the federal issue “substantial” as that term is used in Grable. Both parties rely on

Merrell Dow Pharm. Inc. v. Thomson, 478 U.S. 804 (1986) regarding the substantiality of Purdue’s

asserted federal issue. Merrell Dow involved state law tort claims based on allegations that the

drug at issue in that case did not provide adequate warnings required by the FDCA. Id. at 805-06.

The Court held that “the presence of a claimed violation of the statute as an element of a state

cause of action is insufficiently ‘substantial’ to confer federal-question jurisdiction.” Id. at 814.


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Montana does not assert that Purdue’s drug labels violate the FDCA.2 However, even if they had,

Merrell Dow instructs that this would still not be substantial enough to warrant federal question

jurisdiction. Thus, as all doubts about removal should be resolved in favor of remand, the Court

finds that remand in this case is proper.

        Both parties spend significant time briefing whether Purdue’s removal was timely. As

described above, however, neither Montana’s complaint nor its motion for preliminary injunction

raise a federal issue. Therefore, the issue of Purdue’s timeliness is of no consequence.

                                                       III.

        For the foregoing reasons, Purdue is not entitled to removal under 28 U.S.C. § 1331.

Accordingly, the Motion to Remand Case No. 1:18-OP-45604 to the First Judicial District Court,

Lewis and Clark County, Montana filed by the State of Montana (Doc #: 26) is hereby

GRANTED.

                 IT IS SO ORDERED.




                                                         /s/Dan Aaron Polster_8/23/2018_
                                                         Dan Aaron Polster
                                                         United States District Judge




2
 See (Doc #: 26-1 at 5) (“none of the State’s claims rest on any contention that Purdue violated the FDCA or any
Food & Drug Administration (“FDA”) regulation”).

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